Case 8:20-cv-00265-CEH-TGW Document 35 Filed 02/26/21 Page 1 of 14 PageID 902




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

 THOMAS NESTOR,
 Plaintiff,

 V.

 VPC3 II, LLP, N. E. APARTMENTS
 ASSOCIATES, INC. and JUDGE
 JACK DAY, in his official capacity,
 Defendants.
                                                                Case No. 8:20-cv-00265-T-36TGW

 _____________________________________/

   PLAINTIFF’S OPPOSITION TO DEFENDANT JUDGE JACK DAY’S MOTION TO
  DISMISS [SECOND] AMENDED COMPLAINT (DOC. 12) AND MEMORANDUM OF
                                 LAW


        Plaintiff, Thomas Nestor, through undersigned counsel, files this Opposition to Defendant

 Judge Jack Day’s Motion to Dismiss the Second Amended Complaint (Doc. 12), stating as

 follows:

 Plaintiff denies that his claims lack subject matter jurisdiction or that relief cannot be granted.

 Plaintiff also opposes Defendant Judge Day’s position that should the Court grant their motion to

 dismiss, it warrants dismissal with prejudice.


                                    MEMORANDUM OF LAW

I.Facts and Procedural Background

        The Plaintiff, through undersigned counsel, admittedly made a clerical error in titling the

 Complaint, Amended Complaint, rather the Second Amended Complaint. In addition, it was an


                                                                                                       1
 Case 8:20-cv-00265-CEH-TGW Document 35 Filed 02/26/21 Page 2 of 14 PageID 903




  oversight to list Count V as Count VI. However, Plaintiff has amended the Complaint in

  compliance with the Court Order to Show Cause so that it is not a shotgun pleading, contrary to

  the Defendant Judge Day’s stated facts.



II. Legal Standards Under Rules 12 (b) (1) and 12(b)(6)
   III.   Argument

  A.     The Second Amended Complaint Does Not Lack of Subject-Matter Jurisdiction.

  i.     The Court Possesses Subject-Matter Jurisdiction pursuant to the Rooker-Feldman
  doctrine.

         Defendant cites to the Rooker-Feldman doctrine as if it were absolute bar preventing this

  Court from having subject matter jurisdiction simply because the Defendant is a judge, and

  Plaintiff’s harm occurred and continued to occur during State Court proceedings. In both Rooker

  and Feldman, the plaintiffs challenged the validity of state court decision by filing suit in federal

  district court. In Rooker, the plaintiff asked the district court to render the state court judgment

  against him “null and void.” In Feldman, the plaintiffs filed suit against the actual state court

  that had rejected the plaintiffs’ applications to practice law. In both cases, the Supreme Court

  dismissed the suits for lack of subject-matter jurisdiction, reasoning that pursuant to 28 U.S.C. §

  1257, only the Supreme Court, and not the lower federal courts, enjoys appellate

  jurisdiction over state court decisions.


         However, in Exxon Mobil Corp. v. Saudi Basic Indus. Corp., The Supreme Court

  recognized that the Rooker-Feldman doctrine is a narrow jurisdictional bar to litigation where the

  losing party “repairs to federal court to undo the [state court] judgment in its favor.” The

  Supreme Court cautioned that “Rooker-Feldman does not otherwise override or supplant



                                                                                                         2
Case 8:20-cv-00265-CEH-TGW Document 35 Filed 02/26/21 Page 3 of 14 PageID 904




 preclusion doctrine or augment the circumscribed doctrines that allow federal courts to stay or

 dismiss proceedings in deference to state-court actions.” The Supreme Court noted that, “[i]f a

 federal plaintiff ‘present[s] some independent claim, albeit one that denies a legal conclusion that

 a state court has reached in a case to which he was a party . . . , then there is jurisdiction and state

 law determines whether the defendant prevails under principles of preclusion.”An important

 factor in Exxon Mobil is that the plaintiff was not seeking to overturn the state court.

         Notably, in Philadelphia. Entm’t & Dev. Partners LP v. Commonwealth of Pa. Dept. of

 Rev. (In re Phila. Entm’t & Dev. Partners LP), 879 F.3d 492 (3d Cir. 2018), theThe Third Circuit

 adopted a test for the application of the doctrine and noted that the it applies when four

 requirements are met: (1) the federal plaintiff lost in state court, (2) the plaintiff complains of

 injuries caused by the state court judgment, (3) that judgment issued before the federal suit was

 filed, and (4) the plaintiff invites the district court to review and reject the state court judgment.

 The Third Circuit found that the fourth requirement was not met. Relying on Exxon Mobile, the

 Third Circuit ruled that so long as federal court litigation does not concern “the bona fides of the

 prior judgment,” the federal court “is not conducting appellate review, regardless of whether

 compliance with the second judgment would make it impossible to comply with the first

 judgment.”

         Similarly, in the instant case, Plaintiff is not seeking to overturn the judgment from the

 State Court, but rather wishes that this Court addresses the denial of his Constitutional rights and

 adherence to the proper procedures, regardless of the outcome. Further, the ADA Title II cause of

 action is an “independent claim” under Exxon, and would not be a form of review of any State

 Court judgment. Contrary to Defendant’s assertion, Plaintiff is not simply complaining of an




                                                                                                          3
Case 8:20-cv-00265-CEH-TGW Document 35 Filed 02/26/21 Page 4 of 14 PageID 905




 unfavorable judgment. The denial of the reasonable ADA accommodations by Defendant Judge

 Day violated Plaintiff’s rights and caused him harm long before the case reached its conclusion.




 B. The Second Amended Complaint States a Claim Upon Which Relief Can Be Granted.

 i. The Second Amended Complaint is a proper pleading.

        Defendant Judge Day, through his counsel, argues that Plaintiff’s Second Amended

 Complaint is a shotgun pleading even after amendment, and that the claims were not articulated

 with enough clarity for Defendants to respond. Defendant Judge Day’s go so far as to claim that

 the SAC is virtually identical to the previous version. While admittedly, Plaintiff’s Counsel did

 not alter the title of “Amended Complaint” or the title of Count VI for ADA claim, substantive

 changes were made in the form of allocating previously stated paragraphs to specific counts for

 reference. There are three defendants and the complaint is 147 paragraphs. Five counts are made.

 The SAC clearly identifies the due process violations and ADA violation that Plaintiff

 reasonably believes he experienced. He identified that he was denied a reasonable

 accommodation for his disability in the hearing before Defendant Judge Day and that he was

 denied an evidentiary hearing in conjunction with his opportunity to be heard/


        In the Eleventh Circuit, courts have identified roughly four categories of shotgun

 pleadings: (1) a pleading with multiple counts where each count adopts the allegations of all

 preceding counts; (2) a pleading that relies on conclusory and vague allegations not tied to any

 cause of action; (3) a pleading that fails to separate out its various causes of action and claims for

 relief; and (4) a pleading that asserts numerous claims against multiple defendants without

 specifying which defendants are responsible for which acts or omissions. Weiland v. Palm Beach

 Cty. Sheriff’s Office, 792 F.3d 1313, 1321–23 (11th Cir. 2015). By their very nature, shotgun




                                                                                                     4
Case 8:20-cv-00265-CEH-TGW Document 35 Filed 02/26/21 Page 5 of 14 PageID 906




 pleadings violate Rule 8’s mandate to provide “a short and plain statement of the claim showing

 that the pleader is entitled to relief.” Fed. R. Civ. P. 8.


         In Vibe Micro, Inc. v. Shabanets, 2018 WL 268849 (11th Cir. Jan. 3, 2018), the court

 found Edward Mandel’s Complaint to be a shotgun pleading. Edward Mandel sued various

 parties alleging he was the victim of a scheme to force him off the board of a bill-payment

 terminal company. Mr. Mandel’s complaint asserted both federal and state law claims, spanned

 49 pages, and included an additional 109 pages of exhibits. Shortly after filing, Mr. Mandel

 amended his complaint, adding more allegations and exhibits. On motions to dismiss by the

 various defendants, the district court (S.D. Fla.) found the amended complaint to be a shotgun

 pleading that was “a mostly incoherent document” riddled with allegations “oftentimes not

 connected to a particular Defendant or set of Defendants, making it impossible to understand

 who did what.” Although Mr. Mandel did not request the opportunity to amend his pleading, the

 district court sua sponte granted him the opportunity to do so, providing specific guidance as to

 how to remedy the deficiencies in the amended complaint. Mr. Mandel then filed a second

 amended complaint, which “ballooned to 70 pages, with 160 pages of exhibits.” The district

 court, finding the second amended complaint was plagued by the same issues underlying the first

 amended complaint, dismissed the case with prejudice for violating Rule 8’s requirement to

 provide “a short and plain statement of the claim.” Mr. Mandel did not request—and the district

 court did not offer—the opportunity to file another amended pleading.1


         Plaintiff’s SAC is more succinct and each allegation directly correlates with one of the

 three defendants. It satisfies the requirement for a clear and plain statement.


 ii. Plaintiff’s claims against Judge Day are not barred by the statute of limitations.



 1
  See Dressler v. United States Department of Education, No. 2:18-cv-311, 2019 U.S. Dist. LEXIS 55451 (M.D. Fla.
 April 1, 2019) (quoting Weiland v. Palm Beach Cnty. Sheriff’s Ofc., 792 F.3d 1313, 1322-23 (11th Cir. 2015)).



                                                                                                               5
Case 8:20-cv-00265-CEH-TGW Document 35 Filed 02/26/21 Page 6 of 14 PageID 907




        This action is not barred by the statute of limitations on the basis of equitable tolling

 doctrine. Plaintiff was unaware of the constitutional rights violation that made up the cause of

 action that was created September 4, 2014 and would have lapsed on that same date in 2018 due

 to excusable neglect and his pursuit of these rights in conjunction with the appeal of the

 underlying real estate property dispute in albeit the wrong forum. Plaintiff did litigate the

 underlying case since September 2014, proceeding first with the Second District Court of Appeal

 and advancing the claim to the Florida Supreme Court. Without a per curiam opinion as he

 requested from the Second District Court of Appeal, the Florida Supreme Court would not hear

 the case. A Master Order of Dismissal was entered in the state court proceeding on March 9,

 2017. The Plaintiff went on to file an action against the Title Company on July 14, 2016 in

 Pinellas County, Florida, Case No. 16-004627-CI, for the error on the closing documents that

 contributed to the Seller breaching the agreement with Plaintiff. This case is now up on appeal

 with a notice of appeal filed by Plaintiff’s Counsel in that matter on February 11, 2020.

        Plaintiff has also filed a case against Nick Ekonomou, the owner of the Intervenor in the

 Settlement Agreement at issue in the September 2014 case. On July 13 2018, Plaintiff sued

 Nicholas Ekonomou, NE Apartments Associates, Inc., and Florida Fair Housing, Corp., in

 Pinellas County, Case No. 18-004648-CI for improperly using his role as Intervenor in the

 Settlement Agreement entered during the proceedings of Case No. 14-002358-CI to tortiously

 interfere with Plaintiff’s contractual relationship with VCP3 II LLP. This litigation is ongoing.

 Plaintiff also began litigating in a related action for the property against C3 Healthcare

 Management, Inc., Northstar Real Estate Development Corp., and VPC3 II LLP in Pinellas

 County, Florida, Case No. 19-004849-CI, for fraudulent conveyance of the real estate property.




                                                                                                     6
Case 8:20-cv-00265-CEH-TGW Document 35 Filed 02/26/21 Page 7 of 14 PageID 908




          Plaintiff has thus demonstrated to the Defendants his desire to address each aspect of the

 real property transaction that did not proceed as planned pre-litigation and once it was in the

 Court’s hands. No party would thus be surprised by an action initiated by the Plaintiff against

 them for relief in a manner that would run afoul of the policy concerns underlying the statute of

 limitations.

          Generally, tolling of a limitations period is governed by state law and to duly consider the

 applicable Florida federal decisions that have addressed the Florida tolling statute, it should

 initially be observed that federal courts situated in Florida, when deciding issues of state law as

 opposed to issues of federal law, “must follow the decisions of the Florida Supreme Court and

 Florida’s intermediate appellate courts.”2

          The Florida Supreme Court has created an exception on the grounds of equitable tolling

 in Machules v. Dep’t of Admin. , 523 So. 2d 1132 (Fla. 1988)3, although it has also rendered

 decisions to the contrary.4 In Machules, the Florida Supreme Court applied equitable tolling in a

 case concerning the limitation period for filing an administrative appeal of a public employee’s

 discharge. In that case, the court held that since the employee had incorrectly filed a grievance

 instead of an administrative appeal, and since the employer had participated and set the

 grievance hearing on a date after the end of the statute of limitations period, the doctrine of

 equitable tolling tolled the limitation period:
 2
   See Cohen v. World Omni Fin. Corp. , 751 F. Supp. 2d 1289, 1293 (S.D. Fla. 2010) (“Tolling of a limitations
 period is governed by state law.”); Prime Ins. Syndicate, Inc. v. Sail Tech Distribs., Inc., 270 F. App’x 962, 964 (11th
 Cir. 2008) (“Instead, because we are required to apply state law, we must follow the decisions of the Florida
 Supreme Court and Florida’s intermediate appellate courts.”); H. Michael Munez, Tolling or Suspending the Florida
 Statutes of Limitations Pursuant to Applicable Law, 92 Fla. B.J., Apr. 2018, at 25.
 3
   Fla. Stat. §95.051(2), provides that “[a] disability or other reason does not toll the running of any statute of
 limitations except those specified in this section, s. 95.091, the Florida Probate Code, or the Florida Guardianship
 Law.”
 4
   Hearndon v. Graham, 767 So. 2d 1179, 1185 (Fla. 2000) (“[T]he tolling statute specifically precludes application
 of any tolling provision not specifically provided therein.”); Totura & Co. v. Williams, 754 So. 2d 671, 673 (Fla.
 2000) (“Because the legislature has expressly provided for the instances that shall toll the running of any statute of
 limitations and has excluded any other reason, we are not free to create an exception to that determination.”);
 Florida Dep’t of Health & Rehab. Servs. v. S.A.P., 835 So. 2d 1091, 1096 n.7 (Fla. 2002) (“Fla. Stat. Ch. 95.051
 (1995) sets forth an exclusive list of conditions that can ‘toll’ the running of the statute of limitations; Ch. 95.051
 states that no other condition can toll the statute of limitations. The list did not mention equitable estoppel.”).


                                                                                                                       7
Case 8:20-cv-00265-CEH-TGW Document 35 Filed 02/26/21 Page 8 of 14 PageID 909




         The doctrine of equitable tolling was developed to permit under certain circumstances the
         filing of a lawsuit that otherwise would be barred by a limitations period. The tolling
         doctrine is used in the interests of justice to accommodate both a defendant’s right not to
         be called upon to defend a stale claim and a plaintiff’s right to assert a meritorious claim
         when equitable circumstances have prevented a timely filing. Equitable tolling is a type
         of equitable modification which “‘focuses on the plaintiff’s excusable ignorance of the
         limitations period and on [the] lack of prejudice to the defendant.’” Contrary to the
         analysis of the majority below, equitable tolling, unlike estoppel, does not require active
         deception or employer misconduct, but focuses rather on the employee with a reasonably
         prudent regard for his rights. As Judge Zehmer notes in his dissent below: The doctrine
         [of equitable tolling] serves to ameliorate harsh results that sometimes flow from a strict,
         literalistic construction and application of administrative time limits contained in statutes
         and rules.5


         Florida federal courts have also applied the doctrine of equitable estoppel: in Rowland v.

 Conyers, 2013 LEXIS 26356, No. 4:10cv64 (N.D. Fla. Feb. 26, 2013), a Florida federal court

 rendered the following decision on the tolling attributes of a Florida equitable doctrine directly

 contrary to §95.051(2):


 A Florida statute lists circumstances that toll a statute of limitations. Exhausting administrative
 remedies is not on the list. And by the statute’s explicit terms, the list is exhaustive….There is
 much to be said for that approach; a statute of limitations is best when it is clear and easily
 applied. In the absence of contrary Florida authority, this would strongly support the position that
 Mr. Rowland’s limitations period was not tolled [...] But there is other Florida authority. In
 Machules v. Department of Admin. , 523 So. 2d 1132 (Fla. 1988), the Florida Supreme Court
 held that a limitation period was equitably tolled on grounds not listed in §95.051. This puts to
 rest the assertion that the statute’s list of tolling circumstances is exhaustive. Still, the court’s
 language suggested that equitable tolling is available only in circumstances far different from Mr.
 Rowland’s. The court said, “The doctrine [of equitable tolling] serves to ameliorate harsh results
 that sometimes flow from a strict, literalistic construction and application of administrative time
 limits contained in statutes and rules.” The court continued, “Equitable tolling is a type of
 equitable modification which focuses on the plaintiff’s excusable ignorance of the limitations
 period and on [the] lack of prejudice to the defendant.” The language provides little support for
 Mr. Rowland, who had ample time to file this lawsuit after the administrative process ended.
 Indeed, Mr. Rowland announced his intention to file a lawsuit…and said he was “in the process
 of” doing so…nearly a year before the untolled limitations period expired. This is a weak case
 for equitable tolling.”6



 5
   Machules, 523 So. 2d at 1133-1134 (citing Machules v. Dep’t of Admin. , 502 So. 2d 437, 446 (Fla. 1st DCA 1986)
 (Zehmer, J., dissenting) (citations omitted).
 6
   Rowland v. Conyers, 2013 LEXIS 26356, No. 4:10cv64, at *6-8 (N.D. Fla. Feb. 26, 2013) (citations omitted).


                                                                                                                 8
Case 8:20-cv-00265-CEH-TGW Document 35 Filed 02/26/21 Page 9 of 14 PageID 910




          Since March 31, 1988, the Florida Supreme Court Machules decision has been a material

 part of Florida’s common law jurisprudence which permits the presumption that the Florida

 Legislature has been aware of the Machules exception to §95.051 and has not enacted legislation

 to change the law and overrule Machules.7 In that regard, the Second District Court of Appeal

 has concluded: provided:


          [B]ecause the legislature has failed to make any substantive changes to the pertinent
          statutory language, we must assume that it has no quarrel with the judicial construction
          placed on these statutes in Moore. We also emphasize that until such time as the supreme
          court overrules Moore, or we recede from it en banc, or the Florida [L]egislature clearly
          expresses its disapproval of Moore by a subsequent statutory enactment, trial courts in
          this district are firmly bound by its holding.8


          The three Florida federal district courts have joined with Florida state appellate courts

 that have also recognized the equitable tolling doctrine espoused by the Florida Supreme Court

 in Machules. In Major League Baseball, the Court held that “Equitable tolling, which involves

 no misconduct on the part of the defendant, may delay the running of the statute of limitations

 period based on the plaintiff’s blameless ignorance and the lack of prejudice to the defendant,

 and in Lupola, the First District Court of Appeal held that “Equitable tolling is a type of

 equitable modification which focuses on the plaintiff’s excusable ignorance of the limitations

 period and on the lack of prejudice to the defendant.”9 The Gonzalez v. Florida Dep’t of Fin.

 Servs. Court held that generally, the tolling doctrine has been applied when the plaintiff has been




 7
   H. Michael Munez, Tolling or Suspending the Florida Statutes of Limitations Pursuant to Applicable Law, 92 Fla.
 B.J., Apr. 2018, at 25.
 8
   In Moore v. Winter Haven Hospital, 579 So. 2d 188 (Fla. 2d DCA), rev. den., 589 So. 2d 294 (Fla. 1991), the
 Second District held that the four-year statute of repose in Fla. Stat. §95.11(4)(b) (1983) was tolled by the service of
 a notice of intent to initiate medical malpractice litigation as provided for in Fla. Stat. §768.57(4) (1987); Wood v.
 Fraser, 677 So. 2d 15, 18-19 (Fla. 2d DCA 1996) (citing State v. Hall, 641 So. 2d 403, 405 (Fla. 1994); White v.
 Johnson, 59 So. 2d 532, 5333 (Fla. 1952) (“[L]egislative inaction can be taken as an indication of legislature’s
 acceptance of prior construction of statute.”).
 9
   Major League Baseball, 790 So. 2d at 1071, 1076-77 (citing Machules v. Department of Admin. , 523 So. 2d 1132
 (Fla. 1988)); Lupola v. Lupola, 179 So. 3d 497, 500 (Fla. 1st DCA 2015) (citing Machules v. Department of Admin. ,
 523 So. 2d 1132 (Fla. 1988)).


                                                                                                                       9
Case 8:20-cv-00265-CEH-TGW Document 35 Filed 02/26/21 Page 10 of 14 PageID 911




 misled or lulled into inaction, has in some extraordinary way been prevented from asserting his

 rights, or has timely asserted his rights mistakenly in the wrong forum”).10


          Plaintiff thus has timely asserted his rights in multiple forums within the four year time

 frame that began September 2014 though due to excusable neglect he did so in an improper

 forum. Case precedent supports equitable tolling of the statute to allow for these claims to move

 forward against the named Defendants.


 iii. Judge Day in his official capacity is a proper defendant in a § 1983 action and Plaintiff’s
 claims are not barred by sovereign immunity.

          While on its face the Eleventh Amendment bars “any suit in law or equity, commenced or

 prosecuted against one of the United States,” the Supreme Court announced an exception to

 Eleventh Amendment sovereign immunity in Ex parte Young for claims for injunctive relief

 against individual state officials in their official capacities.11 In order to fall within the Ex parte

 Young exception, a claim must seek prospective relief to end a continuing violation of federal

 law.12 Retroactive relief is barred by the Eleventh Amendment.13 Importantly, in Carten v. Kent

 State University, the Court held that “claims for reinstatement are prospective in nature and

 appropriate subjects for Ex parte Young actions.” 14 The doctrine is built upon a double fiction:

 that for purposes of the sovereign’s immunity, a suit against an official is not a suit against the

 government, but for the purpose of finding state action to which the Constitution applies, the

 official’s conduct is that of the state. Indeed, Ex parte Young itself allowed an individual to sue a


 10
    See also Whiting v. Florida Dep’t of Law Enforcement, 849 So. 2d 1149, 1151 (Fla. 5th DCA 2003) (“Equitable
 tolling requires that the party be misled or lulled into inaction; that he was prevented from asserting his rights in
 some extraordinary way; or that he has timely asserted his rights in the wrong forum.”) (citing Machules )
 11
    See 209 U.S. 123 (1908).
 12
    See MacDonald v. Vill. of Northport, Mich., 164 F.3d 964, 970-72 (6th Cir. 1999).
 13
    Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 103 (1984).
 14
    282 F.3d 391, 396 (6th Cir. 2002) (citing Turker v. Ohio Dep’t. of Rehab. & Corrs., 157 F.3d 453, 459 (6th Cir.
 1998).


                                                                                                                         10
Case 8:20-cv-00265-CEH-TGW Document 35 Filed 02/26/21 Page 11 of 14 PageID 912




 state official in his official capacity to enforce the obligations the Fourteenth Amendment

 imposes on a “State". While the Court in Ex parte Young explained its results in terms that have

 since been called a “fiction” (that a state official violating federal law is not acting on behalf of

 “the State”), courts have long recognized that the legitimacy and longevity of the doctrine is

 grounded in a practical construction of the Constitution’s dual commands of state sovereignty

 and the supremacy of federal law.15 The “fiction” remains a mainstay of our jurisprudence. It

 accounts for a great deal of the litigation brought by individuals to challenge the carrying out of

 state policies. Suits against state officers alleging that they are acting pursuant to an

 unconstitutional statute are the standard device by which to test the validity of state legislation in

 federal courts prior to enforcement, and thus, interpretation in the state courts. Similarly, suits to

 restrain state officials from taking certain actions in contravention of federal statutes or to

 compel the undertaking of affirmative obligations imposed by the Constitution or federal laws

 are common. In the instant case, Defendant Judge Day was named as a Defendant for his actions

 in his official capacity, and although these actions may be attributed to the State, such styling of a

 case is a well recognized procedural device for the actions to move forward without violating the

 11th Amendment.


 iv. Plaintiff’s claims against Judge Day are not barred by judicial immunity.

         Plaintiffs acknowledge that the Federal Courts Improvement Act 1996 (the “FCIA”)

 amended Section 1983 to limit the availability of relief against judges, as argued by Judge Day.

 The limitation imposed by the FCIA applies only to injunctive relief. Declaratory relief is




 15
   See, e.g., Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89,105 (1984); see also Prout v. Starr, 188 U.S.
 537, 542-543 (1903).


                                                                                                                     11
Case 8:20-cv-00265-CEH-TGW Document 35 Filed 02/26/21 Page 12 of 14 PageID 913




 available to Plaintiffs, regardless of the availability of injunctive relief after the enactment of the

 FCIA.16

         Finally, judicial immunity applies to personal capacity claims only.17 The Ex parte Young

 exception applies in this case because Plaintiff seeks relief from Judge Day in his official

 capacity.18 Judicial immunity does not apply here because Judge Day was not sued in his

 individual capacity. Ex parte Young provides an exception to the judicial immunity for claims

 seeking relief against a judge in his official capacity.19 Plaintiff is suing Judge Day in his official

 capacity and asking for a declaratory judgement only. If necessary, Plaintiffs would seek leave to

 file an amended complaint, to clarify that the request for a remand is in fact a request for a

 declaration. While the complaint contains other claims and other forms of relief requested, these

 do not involve Defendant Judge Day. The motion to dismiss also discusses the non- availability

 of potential money damages against this Defendant, or the State by extension and such remedies

 were never sought by Plaintiff.


 v. Plaintiff properly states a claim for ADA Title II violations.

         As stated in Plaintiff’s Statement of the Facts, Plaintiff and Witness were both

 subpoenaed by the Court to appear for an Evidentiary Hearing to testify, though they were not

 permitted by Judge Day to do so (SAC ¶132). Within the scope of the Americans with

 Disabilities Act, a person is understood to have a physical or mental impairment that

 substantially limits a major life activity. Plaintiff has a severe hearing impairment, which was on

 record with the Court. Plaintiff’s request for accommodation was not new. Additional details

 16
    Lawrence, 271 Fed. Appx. at 766, 2008 WL 822458 *3.
 17
    Crowe & Dunleavy, PC, v. Stidman, 640 F.3d 1140, 1156 (10 Cir. 2011).("When it comes to defenses of liability,
 an official in a personal-capacity action may . . . be able to assert personal immunity defenses. . . . In an
 official-capacity action, these defenses are unavailable.").
 18
    See, e.g., Kemp, 478 F.3d at 1255-56.
 19
    Id.; Kentucky v. Graham, 473 U.S. 159, 167 (1985).


                                                                                                                 12
Case 8:20-cv-00265-CEH-TGW Document 35 Filed 02/26/21 Page 13 of 14 PageID 914




 related to the history of Plaintiff’s requests and when they were approved versus this emergency

 hearing instance when they were denied exist. Pursuant to the complaint, without divulging this

 additional information, a claim upon which relief could be granted was stated: the Plaintiff is

 disabled, requested a reasonable accommodation, and was denied. Defendant Judge Day

 referenced the short time allotted for the hearing as well as the length of time that would lapse

 before a continuation of the hearing could be scheduled (SAC ¶¶132-140). By not alotting

 enough time, Judge Day exacerbated Plaintiff’s impairment and diminished his opportunity to

 meaningfully participate in the proceeding. Judge Day had stated an evidentiary hearing might

 become necessary based on what was said and heard that September 4th, 2014, and it would

 appear that the scenario that would warrant scheduling the matter for a longer time frame as an

 evidentiary hearing since the Plaintiff did not have time to present any evidence due to no fault

 of his own (Defendants VCP III and NE Apartments had filed their motions and scheduled the

 time).



 IV. Conclusion


          Based on the foregoing arguments, Plaintiff opposes Defendant Judge Jack Day’s Motion

 to Dismiss and respectfully requests that this Court deny the related relief sought in the Motion.

 In the event that the Court grants any portion of Defendant Judge Day’s Motion, Defendant

 requests a dismissal without prejudice and an opportunity to amend any such count of the

 Complaint.



 February 26, 2021




                                                                                                     13
Case 8:20-cv-00265-CEH-TGW Document 35 Filed 02/26/21 Page 14 of 14 PageID 915




 Respectfully submitted,


 ________________________________
 Ralph Strzalkowski Esq.
 Attorney for Defendant Don Juravin
    Florida Bar No. 89248
 FLORIDA RIGHTS LAW FIRM
 695 Central Avenue, Suite 264
 St. Petersburg, Florida 33712
 Telephone:      (813) 613-2400
 Facsimile:      (727) 362-1979
 Email: rs@lawyeronwheels.org



 __________________________________
 Amber Robinson, Esq.
 Attorney for Defendant Don Juravin
 Fla. Bar No. 0107215
 FLORIDA RIGHTS LAW FIRM
 695 Central Avenue, Suite 264
 St. Petersburg, Florida 33712
 Telephone:      (813) 613-2400
 Facsimile:      (727) 362-1979
 Email: arobinson@arobinsonlawfirm.com




                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 26, 2021, I electronically filed the foregoing with
 the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to
 those persons capable of receiving such notice of electronic filing.

 /s/ Amber Robinson
 ________________________
 Co-Counsel for Plaintiff



                                                                                             14
